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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                           CASE NO.

  EDDY GARCIA,

         Plaintiff,

  v.

  MRC CRUISES S.A.,

        Defendant.
  _______________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Plaintiff EDDY GARCIA, and sues Defendant M.S.C. CRUISES

  S.A., a Swiss corporation, doing business as M.S.C. CRUISE LINES, and alleges:

                             JURISDICTION, VENUE AND PARTIES

         1.     Ther is an action for damages in excess of seventy-five thousand

  ($75,000.00) dollars, exclusive of interest and costs.

         2.     Plaintiff, EDDY GARCIA (HEREINAFTER “GARCIA” or “MR.

  GARCIA”), is sui juris and is a resident and citizen of Illinois.

         3.     Defendant, M.S.C. CRUISES, S.A.            (hereinafter “MSC”) is a Swiss

  corporation with its principal place of business in South Florida. At all material times

  Defendant M.S.C. CRUISES, S.A. has done business under the fictitious name “M.S.C.

  CRUISE LINE.”

         4.     This Court has subject matter jurisdiction over this action pursuant to 28

  U.S.C. §1332, based on diversity of citizenship. The Plaintiff is a citizen and resident of



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  the State of Illinois, while the Defendant is deemed a citizen of Florida and Switzerland

  for federal jurisdictional purposes, so there is complete diversity of citizenship between

  the parties. The amount in controversy exceeds $75,000.00, the minimum jurisdictional

  amount for diversity cases. The damages alleged in Paragraphs 16 and 20, including

  lacerations to his right wrist, which developed a painful infection that required inpatient

  care, advanced scapholunate collapse of the right wrist, lacerations to his head on the left

  side, a deep laceration through eyebrow, fractured ribs (left No. 5, 6, 7 and right No. 9

  and 10), a traumatic brain injury, memory loss, extensive contusions to his rear

  midsection bilaterally, and a hematoma in his right upper extremity, support an award

  of damages in excess of $75,000.00. The Plaintiff is entitled to a jury trial pursuant to Leslie

  v. Carnival Corp., 22 So.3d 561, 562 (Fla. 3d DCA 2008).

         5.      At all material times, Defendant has conducted ongoing substantial and not

  isolated business activities in Miami-Dade County, Florida, in the Southern District of

  Florida, so that in personam jurisdiction over the Defendant exists in the United States

  District Court for the Southern District of Florida.

         6.      At all material times, the Defendant has engaged in the business of

  operating maritime cruise vessels for paying passengers, including the Plaintiff.

         7.      In the operative ticket contract, the Defendant requires fare paying

  passengers such as the Plaintiff to bring any lawsuit against the Defendant arising out of

  injuries or events occurring on the cruise voyage in the federal judicial district.

  Accordingly, venue is proper in the Court as dictated per Defendant’s unilateral contract

  of adhesion.


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         8.     Venue is also proper in the district because the Defendant’s principal places

  of business are located within the district.

         9.     Plaintiff has complied with all conditions precedent to bringing the action.

  The Plaintiff reported the accident to the ship's medical crew shortly after it occurred,

  and an incident report and written medical records were prepared onboard the ship.

  Furthermore, the Plaintiff gave the Defendant timely written notice of his intent to pursue

  a claim as required by the ticket contract.

      LIABILITY AND DAMAGE ALLEGATIONS COMMON TO ALL COUNTS

         10.    At all material times, the Defendant was engaged in the business of

  operating maritime cruise vessels for fare paying passengers and for the purpose

  operated, among other vessels, the M/V MSC Meraviglia.

         11.    At all material times, the Defendant designed, operated, managed,

  maintained and was in exclusive control of the M/V MSC Meraviglia.

         12.    Falls, upon information and belief and at all relevant times, are the leading

  cause of injuries in the U.S. and aboard defendant’s vessels and slip and fall accidents

  specifically are a leading cause, if not the leading cause, of fall injuries overall. The

  defendant, at all relevant times, knew or should have known of these statistics.

         13.    At all material times, including the injury date of January 29th, 2023, the

  Plaintiff Mr. GARCIA was a fare paying passenger aboard the M/V MSC Meraviglia

  and in that capacity was lawfully present aboard the vessel.




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        14.    On or about January 29th, 2023, while aboard the M/V MSC Meraviglia as

  a fare paying passenger, Mr. GARCIA was descending the Swarovski crystal staircase

  from Deck 6 to Deck 5 midship.

        15.    As Mr. GARCIA descended from the Deck 6 Swarovski staircase

  (hereinafter “Swarovski staircase”), located next to the Edge Cocktail Bar, he slipped and

  fell on an the unreasonably glazed, slippery, and/or hazardous flooring surface on the

  Swarovski staircase from Deck Six (6), to Deck 5, also next to a cocktail lounge named the

  Infinity Bar, and thus, was unreasonably dangerous. A picture of the subject staircase is

  depicted below:




                                                                                   1



        16.    As a result, Mr. GARCIA fell down the staircase and thereby sustained




  1
    Retrieved from Defendant’s website on January 24th, 2024 on the page titled
  “SWAROVSKI AND MSC CRUISES” https://www.msccruises.com/int/partnerships/msc-
  cruises-and-swarovski .


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  serious traumatic injuries including lacerations to his right wrist, which developed a

  painful infection that required inpatient care, advanced scapholunate collapse of the right

  wrist, lacerations to his head on the left side, a deep laceration through eyebrow,

  fractured ribs (left No. 5, 6, 7 and right No. 9 and 10), a traumatic brain injury, memory

  loss, extensive contusions to his rear midsection bilaterally, and a hematoma in his right

  upper extremity.

            17.   At all material times, at the time and place referred to in the preceding

  paragraph, the location of the staircase where Mr. GARCIA fell was an area of the ship

  that was a high traffic point of circulation area due to the muster drill so that the

  Defendant knew or should have known of the tendency of accidents in the area exposing

  Mr. GARCIA and all other passengers to the unreasonably slick, slippery glass/crystal

  staircases and/or hazardous nature of the floor surface that lacked sufficient slip resistant

  properties, but nonetheless failed to undertake reasonable safety measures for passenger

  safety.

            18.   The slippery step in the area where the plaintiff fell was static or had existed

  for a sufficient period of time before the Plaintiff’s fall that the Defendant had actual or

  constructive knowledge of its presence and an opportunity to correct or warn of it.

            19.   As an alternative to the allegations in the preceding paragraph, the

  Defendant at all material times had actual or constructive knowledge of the unreasonably

  slippery flooring surface in the area where the Plaintiff fell due to the regularly and

  frequently recurring nature of the hazard including through the occurrence of prior

  substantially similar incidents.


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         20.    As a direct and proximate result of the fall described above, Mr. GARCIA

  was injured in and about his body and extremities, suffered pain there from, sustained

  mental anguish, disfigurement, disability, and the inability to lead a normal life.

  Furthermore, he sustained loss of earnings and a loss of earning capacity in the past and

  future, and incurred medical, hospital, and other out of pocket and health care expenses

  in the past and future as a result of his injuries in addition to loss of the value of his cruise

  vacation. These damages are permanent or continuing in their nature and the Plaintiff

  will continue to sustain and incur these damages in the future.


                    COUNT I - NEGLIGENT FAILURE TO MAINTAIN

         21.    The Plaintiff adopts, realleges and incorporates by reference all allegations

  of Paragraphs 1 through 20 above and further alleges the following matters.

         22.    At all material times the Defendant owed the Plaintiff, as a fare paying

  passenger on board its passenger vessel the M/V MSC Meraviglia, a duty of reasonable

  care for his safety, including a duty to take reasonable care in maintaining its vessel so as

  to ameliorate, correct or avoid conditions creating a risk of harm for passengers.

         23.    At all material times, the M/V MSC Meraviglia contained a condition

  creating a risk of harm to passengers to-wit: the slippery step(s) of the stairs in the

  Meraviglia’s interior Swarovski staircase from Deck 6 by the Edge Cocktail Bar to Deck 5

  by the Infinity Launch and Bar described and depicted in Paragraph 15 above. The

  unreasonably slippery deck surface created a risk to individuals descending the steps,

  specifically the risk that they would lose their footing and fall as the Plaintiff did.




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         24.    At all material times, the Defendant knew or should in the exercise of

  reasonable care have known the unreasonably slippery step described in the preceding

  paragraph and Paragraph 15, due to the length of time the condition had existed, prior

  similar incidents, the recurring or static nature of the condition, the interior staircase’s

  location proximate to the Edge Cocktail Bar on Deck 6 and the Infinity Launch and Bar on

  Deck 5 including the tendency of bar patrons to spill drinks, pedestrian traffic, or failure

  to comply with manufacturer’s maintenance recommendations to preserve the slip

  resistance properties of the deck/step surface, or other sources of knowledge, and

  therefore had actual or constructive notice of it.

         25.    Notwithstanding its actual or constructive notice of the risk creating

  condition on the slippery step, as described in the preceding two paragraphs, the

  Defendant failed at all material times to take adequate measures to inspect steps for risk

  creating conditions and to correct them once detected, and thus failed to exercise

  reasonable care in maintaining its vessel. The Defendant was thereby negligent.

         26.    As a direct and proximate result of the Defendant's negligent maintenance

  of its vessel as described above, the Plaintiff fell as described in Paragraph 15 above and

  as a proximate result has sustained and will continue in the future to sustain the damages

  alleged in Paragraphs 16 and 20 above.

         WHEREFORE, the Plaintiff demands judgment against the Defendant for

  compensatory damages, pre-judgment interest and the costs of this action.




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                           COUNT II – GENERAL NEGLIGENCE

         27.    The Plaintiff adopts, realleges and incorporates by reference all allegations

  of Paragraphs 1 through 20 above and further alleges the following matters.

         28.    At all material times the Defendant owed the Plaintiff, as a fare paying

  passenger on board its passenger vessel the M/V MSC Meraviglia, a duty of reasonable

  care for his safety, including a duty to take reasonable care operating the vessel so as to

  ameliorate, correct or avoid conditions creating a risk of harm for passengers.

         29.    At all material times, the M/V MSC Meraviglia contained a condition

  creating a risk of harm to passengers, to-wit: the slippery step(s) of the stairs in the

  Meraviglia’s, and/or hazardous flooring surface on the steps on the staircase of the Deck

  Fifth, aft as described and depicted in Paragraph 15 above This slippery step created a

  risk to individuals descending the steps, specifically the risk that they would lose their

  footing and fall as the Plaintiff did.

         30.    At all material times, the Defendant knew or should in the exercise of

  reasonable care have known the unreasonably slippery deck surface described in the

  preceding paragraph and Paragraph 15, due to the length of time the condition had

  existed, prior similar incidents, the recurring or static nature of the condition, or other

  sources of knowledge, and therefore had actual or constructive notice of it.

         31.    Notwithstanding its actual or constructive notice of the risk creating

  condition on the unreasonably slippery deck surface, as described in the preceding two

  paragraphs, the Defendant failed at all material times to take adequate measures to

  ensure the staircases had adequate slip resistance and to monitor the condition of the


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  steps to avoid risk-creating conditions and to correct them once detected, and thus failed

  to exercise reasonable care in operating its vessel. The Defendant was thereby negligent.

          32.   As a direct and proximate result of the Defendant's negligent maintenance

  of its vessel as described above, the Plaintiff fell as described in Paragraph 15 above and

  as a proximate result has sustained and will continue in the future to sustain the damages

  alleged in Paragraphs 16 and 20 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant for

  compensatory damages, pre-judgment interest and the costs of this action.


                     COUNT III - NEGLIGENT FAILURE TO WARN

          33.   The Plaintiff adopts, realleges and incorporates by reference all allegations

  of Paragraphs 1 through 20 above and further alleges the following matters.

          34.   At all material times the Defendant owed the Plaintiff, as a fare paying

  passenger on board its passenger vessel the M/V MSC Meraviglia, a duty of reasonable

  care for his safety, including a duty to take reasonable care in warning passengers,

  including Mr. GARCIA, adequately of onboard conditions creating a risk of harm to

  them.

          35.   At all material times, the M/V MSC Meraviglia contained a condition

  creating a risk of harm to passengers, to-wit: the slippery step(s) of the stairs in the

  Meraviglia’s Interior staircase located proximate to the Edge Cocktail Bar on Deck 6 and the

  Infinity Launch and Bar on Deck 5, including the tendency of bar patrons to spill drinks as

  described above. The unreasonably slippery step/decking surface created a risk to




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   individuals using the designated pedestrian walkway via the Swarovski crystal staircase,

   specifically the risk that they would lose their footing and fall as the Plaintiff did.

          36.    At all material times, the Defendant knew or should in the exercise of

   reasonable care have known about the unreasonably slippery step described in the

   preceding paragraph and Paragraph 15, due to the length of time the condition had

   existed, prior similar incidents, the recurring or static nature of the condition, or other

   sources of knowledge, and therefore had actual or constructive notice of it.

          37.    Notwithstanding its actual or constructive notice of the risk creating

   condition on the unreasonably slippery deck surface, as described in the preceding two

   paragraphs, the Defendant failed at all material times to take adequate measures to warn

   passengers, including the Plaintiff, of the unreasonably slippery step, and/or hazardous

   condition described in Paragraph 15 above, including failures to provide adequate

   warning signage, caution cones, caution tape, stanchions, others, or oral or written

   warnings or notices of the condition. The Defendant was thereby negligent.

          38.    As a direct and proximate result of the Defendant's negligent failure to

   warn described above, the Plaintiff lost his footing and fell as described in Paragraph 15

   above and as a proximate result has sustained and will continue in the future to sustain

   the damages alleged in Paragraphs 16 and 20 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant for

   compensatory damages, pre-judgment interest and the costs of this action.




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                              COUNT IV – NEGLIGENT DESIGN

          39.    The Plaintiff adopts, realleges and incorporates by reference all allegations

   of Paragraphs 1 through 20 above and further alleges the following matters.

          40.    At all times material hereto, Defendant owed the Plaintiff, as a fare paying

   passenger on board its passenger vessel the M/V MSC Meraviglia, a duty of reasonable

   care for his safety, including a duty to take reasonable care in designing staircases and

   the flooring thereon so as to alert pedestrians to the steps presence as described in

   Paragraph 15 above.

          41.    At all material times the M/V MSC Meraviglia contained a condition

   creating a risk of harm to passengers to-wit: the slippery step(s) of the stairs in the

   Meraviglia’s Interior Swarovski staircase located proximate to the Edge Cocktail Bar on

   Deck 6 and the Infinity Launch and Bar on Deck 5, including the tendency of bar patrons

   to spill drinks as described in Paragraph 15 above. These slippery steps and crystal

   staircase as a whole created a risk to individuals descending the steps, specifically the

   risk that they would lose their footing and fall as the Plaintiff did.

          42.    At all material times, MSC actively participated in the design of the subject

   vessel and the dry dock modifications and refurbishments that have been conducted

   periodically since then.

          43.    MSC had a contractual right to be involved in the design and construction

   of the vessel with the shipyard and the subsequent dry dock modifications and

   refurbishments thereafter.

          44.    MSC had an employee or agent present at the shipyard throughout the


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   construction and during the subsequent dry dock modifications and refurbishments of

   the vessel to approve, inspect, modify, and supervise the design and construction of the

   vessel at all material times.

          45.    At all material times the steps on the Defendant's vessels interior staircases

   fleet-wide or class-wide exposed pedestrians to the dangers described in Paragraph 15

   above, due to the Defendant's participation in the design of the steps and flooring

   thereon.

          46.    At all material times, the Defendant knew or should in the exercise of

   reasonable care have known the propensity of the step to become slippery as described

   in the preceding paragraph and Paragraph 15, due to the recurring or static nature of

   slippery conditions, Swarovski Crystal flooring, no nosing or anti-skid strips, applicable

   industry standards, or other sources of knowledge, and therefore had actual or

   constructive notice of this propensity.

          47.    Notwithstanding its actual or constructive notice of the propensity of its

   onboard steps to be slippery as described in Paragraph 15 above, the Defendant failed at

   all material times to modify the design of its onboard Swarovski staircases and their

   crystal steps, flooring, or both so as to correct or ameliorate this risk creating condition

   and was thereby negligent.

          48.    As a direct and proximate result of the Defendant's negligent design of the

   Swarovski staircase of the interior portion of the Edge Cocktail Bar on Deck 6 and the

   Infinity Launch and Bar on Deck 5, the M/V MSC Meraviglia, the flooring thereon, or

   both, the slippery steps described in Paragraph 15 was an unreasonably dangerous


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   condition that developed and continued to exist at the time of the Plaintiff's fall described

   in Paragraph 15.

          49.      As a further direct and proximate result of the Defendant's negligent design

   of the Swarovski staircase of the interior portion of the Edge Cocktail Bar on Deck 6 and

   the Infinity Launch and Bar on Deck 5 of the M/V MSC Meraviglia, the flooring thereon,

   or both, the Plaintiff lost his footing on the slippery crystal step and fell as described

   in Paragraph 15 above, and thereby has sustained and will continue in the future to

   sustain the damages described in paragraphs 16 and 20 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant for

   compensatory damages, pre-judgment interest and the costs of this action.


                                   DEMAND FOR JURY TRIAL

                The Plaintiff hereby demands trial by jury of all issues so triable as of right.


          Dated:          January 24, 2024
                          Miami, Florida


                                                Respectfully submitted,

                                         BY:    ________________________
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